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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

ROSS BAGNASCO, an individual, and) Case No.: 17-CV-02359-BEN-KSC
JOANN BAGNASCO, an individual, )
) Joint Motion to Dismiss Entire Case
Plaintiffs,

Vv.

EXPERIAN INFORMATION
SOLUTIONS, INC., a corporation;
EQUIFAX INFORMATION
SERVICES, LLC; a limited liability
company; TRANS UNION LLC, a
limited liability company; and DOES 1
through 10 inclusive,

Defendants.

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NOTICE IS HEREBY GIVEN THAT:
Pursuant to Federal Rules of Civil Procedure 41(a)(1)(ii) the parties hereby jointly

move to dismiss the entire case with prejudice. Each party to bear its own costs and fees

DATE: May 30, 2018 BY:/s/Jeremy S. Golden
Jeremy S. Golden
Attorney for Plaintiff

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Joint Motion to Dismiss Entire Case

 
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DATE: May 30, 2018 BY: /s/Edwin A. Howell, Esq.
Edwin A. Howell
Attorney for Experian Information Solutions, Inc.

SIGNATURE CERTIFICATION
Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
Procedures Manual, I hereby certify that the content of this document is acceptable to Edwin
A. Howell, and that I have obtained counsels’ authorization to affix their electronic

signatures to this document.

DATE: May 30, 2018 BY:/s/Jeremy S. Golden
Jeremy S. Golden
Attorney for Plaintiff

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Joint Motion to Dismiss Entire Case

 
